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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JAMES E. BLEDSOE
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     NO. CR-S-04-0026-WBS
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
14        v.                         )     CONTINUING STATUS CONFERENCE
                                     )
15   JAMES E. BLEDSOE and            )
     SUSAN E. D'ORTA, aka            )     DATE: April 2, 2007
16      Susan Mason                  )     TIME: 8:30 a.m.
                                     )     JUDGE: William B. Shubb
17                  Defendants.      )
                                     )
18   _______________________________ )
19        It is hereby stipulated and agreed to between the United States of
20   America through Matthew Segal, Assistant United States Attorney;
21   defendant, JAMES BLEDSOE, by and through his counsel, Matthew C.
22   Bockmon, Assistant Federal Defender; and defendant, SUSAN D'ORTA, by
23   and through her counsel, Dwight M. Samuel, Esq., that the status
24   conference presently scheduled for hearing on March 12, 2007, be
25   vacated and rescheduled for status conference on April 2, 2007, at
26   8:30 a.m.
27         This continuance is being requested because the parties are in
28   the process of working on a resolution of this matter with clients who
              Case 2:04-cr-00026-WBS Document 99 Filed 03/14/07 Page 2 of 3


1    reside out of district.
2          IT IS FURTHER STIPULATED that the period March 12, 2007, through
3    and including April 2, 2007, be excluded in computing the time within
4    which trial must commence under the Speedy Trial Act, pursuant to 18
5    U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and
6    preparation of counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code
7    T2 for complexity.
8    Dated: March 9, 2007
9                                              Respectfully submitted,
10                                             DANIEL J. BRODERICK
                                               Federal Defender
11
                                               /s/ Matthew C. Bockmon
12                                             ________________________________
                                               MATTHEW C. BOCKMON
13                                             Assistant Federal Defender
                                               Attorney for Defendant
14                                             JAMES E. BLEDSOE
15
                                               /s/ Matthew C. Bockmon for
16                                                 Dwight M. Samuel
                                               _______________________________
17                                             DWIGHT M. SAMUEL
                                               Attorney for Defendant
18                                             SUSAN E. D'ORTA
                                               per telephonic authority
19
     Dated:    March 13, 2007
20
                                               MCGREGOR W. SCOTT
21                                             United States Attorney
22                                             /s/ Matthew Segal
                                               _________________________________
23                                             MATTHEW SEGAL
                                               Assistant U.S. Attorney
24                                             per telephonic authority
25
     //
26   //
     //
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28


     Stipulation & Order                       2
              Case 2:04-cr-00026-WBS Document 99 Filed 03/14/07 Page 3 of 3


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2                                         O R D E R
3    IT IS SO ORDERED.
4    Dated:    March 12, 2007
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     Stipulation & Order                       3
